                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS

                                                  )
JULIAN GREEN, EUGENE IVEY,                        )
JAMES P. MCKENNA, and                             )
LISA NEWMAN-POLK, individually                    )
and on behalf of all others similarly situated,   )
                                                  )
               Plaintiffs,                        )
                                                  )
v.                                                ) Civil Action No. 21-11504
                                                  )
SIRCHIE ACQUISITION CO. LLC, and                  )
PREMIER BIOTECH, INC.,                            )
                                                  )
               Defendants.                        )
                                                  )

                         MEMORANDUM IN SUPPORT OF
               SIRCHIE ACQUISITION CO. LLC’S MOTION TO DISMISS

       Defendant Sirchie Acquisition Co. LLC (“Defendant” or “Sirchie”), by and through its

undersigned counsel, respectfully submits this Memorandum in support of its Motion to Dismiss

(“Motion”) Plaintiffs Julian Green (“Green”), Eugene Ivey (“Ivey”), James P. McKenna

(“McKenna”) and Lisa Newman-Polk’s (“Newman-Polk”) (collectively, “Plaintiffs”) First Amended

Class Action Complaint (the “Complaint”) pursuant to Fed. R. Civ. P. 12(b)(1), (6). Sirchie also

requests entry of final and separate judgment in its favor pursuant to Fed. R. Civ. P. 54(b).

                                   I.   Preliminary Statement

       Sirchie is the manufacturer and distributor of the NARK II Presumptive Drug Test Kit

(“NARK II Test Kit”) which is sold to law enforcement customers, not the general public, as a

portable kit for the purpose of testing for illegal narcotics at the scene. Sirchie warns its consumers

on the packaging for the product as well as on its website that false positives are a possibility and

therefore the consumer must have a forensic laboratory test the substance at issue and verify the
results of the NARK II Test Kit. Sirchie has no control over the manner in which law enforcement

administers the test or interprets the results, or the length of time it takes an independent laboratory

to verify the results. Significantly, the determination whether to discipline an inmate or his/her

attorney (in this case the Plaintiffs), the circumstances surrounding an inmate’s detention (i.e., Green

and Ivey), and the resulting effect of such detention on an inmates future are matters outside of

Sirchie’s control.

         Plaintiffs’ purported claims against Sirchie fail because Plaintiffs have not properly alleged

any claim to support a cognizable cause of action against Sirchie pursuant to Fed. R. Civ. P. 12(b)(6)

and, as to McKenna and Newman-Polk, for lack of Article III standing. Therefore, as set forth

below, Plaintiffs’ Complaint against Sirchie should be dismissed and separate and final judgment

should enter in its favor.

                                    II.    Factual Allegations

         Plaintiffs’ action arises out of allegedly inaccurate results of certain presumptive drug tests

conducted by the Massachusetts Department of Correction (the “DOC”). See Complaint, ¶¶1-4. The

allegedly inaccurate results were obtained using the NARK II Test Kit that is manufactured by

Sirchie. See Complaint, ¶10. The NARK II Test Kit provides “presumptive identification” of eight

synthetic cannabinoids. See Complaint, ¶15 (emphasis added). The NARK II Test Kit is intended for

presumptive identification and not as conclusive evidence of the presence of drugs. Incredibly, it is

not alleged that Sirchie promotes the NARK II Test Kit as conclusive proof of the presence of drugs.

         The DOC purchased the NARK II Test Kits from Defendant Premier Biotech, Inc.

(“Premier”), a supplier of the NARK II Test Kit. See Complaint, ¶¶13, 29. Notably, the brochure of

the NARK II Test Kit sold to the DOC states:

                   Presumptive identification is generally recognized within our
                   legal system as a component of probable cause. There is no drug


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                   identification system presently in use which completely eliminates
                   the occurrence of false positives and false negatives. A forensic
                   laboratory is required to qualitatively and quantitatively identify
                   an unknown substance.

                   See Dkt. No. 14-1, at 5.

         Moreover, the same warning appears on all of Premier’s NARK-related promotional

materials given to the DOC before the DOC’s purchase of the NARK II Test Kit. See Dkt. No. 14-2,

at 1 (“…A forensic laboratory is required to qualitatively and quantitatively identify an unknown

substance.”); Dkt. No. 14-3, at 2 (“…A forensic laboratory is required to qualitatively and

quantitatively identify an unknown substance.”). In fact, the packaging of the NARK II Test Kit at

issue states the same warning (see packaging below) 1:

                   NOTE: ALL TEST RESULTS MUST BE CONFIRMED BY AN
                   APPROVED ANALYTICAL LABORATORY! The results of this
                   test are merely presumptive. NARK only tests for the possible
                   presence of certain chemical compounds. Reactions may occur with,
                   and such compounds can be found in, both legal and illegal products.
                   This test must be administered following its specific instructions and
                   may be used in conjunction with other reagents in the NARK II
                   Sequential Testing System.




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         Because the information on the packaging were referenced and relied on by Plaintiffs in the
Complaint (at ¶¶20-21), they may be relied on by the Court in deciding the Motion to Dismiss. Cruz
v. Melecio, 204 F.3d 14, 21-22 (1st Cir. 2000) (any document fairly incorporated into the Complaint
may be considered on a Motion to Dismiss).


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         Further, it is undisputed that Sirchie did not sell any NARK II Test Kits directly to the DOC

or that any of the NARK II Test Kit at issue in this action were obtained by the DOC directly from

Sirchie. See Complaint, ¶¶13, 29.

         Plaintiffs allege that the DOC used the NARK II Test Kit to conduct tests to pieces of mail

sent to Green and Ivey. See Complaint, ¶4. Plaintiffs claim that the NARK II Test Kit returned

positive results and that the DOC, through its employees, disciplined Green and Ivey without

obtaining laboratory confirmation of the positive test results. See Complaint, ¶¶33-37, 44-50, 54-60.

Notably, Plaintiffs do not allege that Sirchie took part in the use of the NARK II Test Kits at issue or

in any of the disciplinary decisions levied against Plaintiffs because Sirchie did not do so. Also,

McKenna and Newman-Polk allege that they were threatened with discipline and that their alleged

clients are now refusing “legal mail – their main form of communication with their counsel…” See

Complaint, ¶¶3-4, 43, 70. However, it is undisputed that McKenna and Newman-Polk were able to

communicate with their clients using other methods than U.S. mail and that neither suffered any

disciplinary action against them.

         On July 28, 2021, Plaintiffs filed their Complaint alleging a claim of negligence against

Sirchie (Count III). Sirchie removed the action to this Court on September 14, 2021. On October 4,

2021, Plaintiffs filed their First Amended Complaint alleging claims of negligence (Count I) and

violation of G.L. c. 93A (Count III). See Dkt. No. 26, ¶¶85-89, 96-104. For the reasons stated below,

Plaintiffs’ claims against Sirchie fails as a matter of law due to their failure to state a claim against

Sirchie for which relief can be granted. Plaintiffs’ Complaint should also be dismissed as to

McKenna and Newman-Polk for the lack of Article III standing.




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                                         III.    Argument

A. Motion to Dismiss for Lack of Standing

    1. Fed. R. Civ. P. 12(b)(1) Legal Standard.

         Rule 12(b)(1) is “[t]he proper vehicle for challenging a court’s subject-matter jurisdiction”

including a claim that the plaintiff lacks Article III standing. In Re Lantus Direct Antitrust Litig.,

2020 U.S. Dist. LEXIS 240574 (D. Mass. 2020) quoting Valentin v. Hosp. Bella Vista, 254 F.3d 358,

362 (1st Cir. 2001). A plaintiff must have standing to bring each and every claim that she asserts.

Katz v. Pershing, LLC, 672 F.3d 64, 71 (1st Cir. 2012); Pagan v. Calderon, 448 F.3 16, 26 (1st Cir.

2006); In re Nexium Antitrust Litig., 777 F.3d 9, 31 (1st Cir. 2015) (“Nexium II”) (Article III standing

is an indispensable part of any case that must be present at every stage of the case). A plaintiff

carries the burden of proving standing by establishing the existence of three elements: (1) the

plaintiff must have suffered an “injury-in -act” or an invasion of a legally protected interest; (2) there

must be a causal connection between the plaintiff’s injury and the defendant’s conduct; and (3) it

must be likely that the injury will be redressed by a favorable decision. Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560-561 (1992); Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) .

Where the question of standing is based on the pleadings, the plaintiff bears the burden of

establishing sufficient factual matter to plausibly demonstrate his standing to bring the action.

Hochendoner v. Genzyme Corp., 823 F.3d 724, 731 (1st Cir. 2016).

         Significantly, that a suit may be a purported class action adds nothing to the question of

standing, for even named plaintiffs who represent a class must allege and show that they personally

have been injured, not that the injury has been suffered by other, unidentified members of the class

to which they belong. Spokeo, 136 S. Ct. at 1547, n. 6; In re Nexium (Esomeprazole) Antitrust Litig.,

968 F. Supp. 2d 367, 403-404 (D. Mass. 2013) (“Nexium I”).



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         To establish injury-in-fact, a plaintiff must show that he or she suffered “an invasion of a

legally protected interest” that is “concrete and particularized” and “actual or imminent, not

conjectural or hypothetical.” Spokeo, 136 S. Ct. at 1548 quoting Lujan, 504 U.S. at 560; Benjamin v.

Aroostook Med. Ctr., Inc., 57 F.3d 101, 104 (1st Cir. 1995). The requirement of an actual or

imminent injury ensures that the harm has either happened or is sufficiently threatening; it is not

enough that the harm might occur at some future time. Katz, 672 F3.d at 71.

    2. McKenna and Newman-Polk Fail to Allege Injury-in-Fact.

         McKenna and Newman-Polk (the “Attorney Plaintiffs”) admit that neither of them (1)

suffered disciplinary action against them (it was allegedly just threatened) or (2) were prevented

from contacting and reaching their clients (rather, it was allegedly just more difficult). See

Complaint, ¶¶3-4, 43, 70. Moreover, the Attorney Plaintiffs admit that the crux of their claim is that

the actions of the Attorney Plaintiffs caused the harm allegedly sustained by Green and Ivey (the

“Inmate Plaintiffs”), not that the Attorney Plaintiffs have sustained the harm complained of

themselves. See Complaint, ¶¶3-4, 43, 50, 69-71.

         The Attorney Plaintiffs, who have not been injured and/or damaged, seek to sue the

manufacturer on the basis that they may be injured. However, the Attorney Plaintiffs admit that they

have no issue reaching their clients and have not been punished by the DOC (or accused of any

criminal action that could jeopardize their license to operate as an attorney). See Complaint, ¶¶3-4,

43, 48, 50, 62, 66, 69-71. The Attorney Plaintiffs’ allegations only support the contention that the

inability to send mail to their client are unsatisfactory and burdensome to them (however, the

Attorney Plaintiffs can still meet in person with their client or speak through a telephone line). As

such, the Attorney Plaintiffs have failed to allege that they have suffered an injury in fact as no

invasion of any legally protected interest occurred and any threatened discipline is conjectural or



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hypothetical. Spokeo, 136 S. Ct. at 1548 quoting Lujan, 504 U.S. at 560 (to establish injury in fact, a

plaintiff must show that he or she suffered an invasion of a legally protected interest that is concrete

and particularized and actual or imminent, not conjectural or hypothetical). For these reasons, the

Attorney Plaintiffs have no viable claims for relief against Sirchie.

    3. Attorney Plaintiffs Fail to Allege an Injury Fairly Traceable to a Challenged Action.

         The causation element “requires the plaintiff to show a sufficiently direct causal connection

between the challenged action and the identified harm.” Katz, 672 F.3d at 71. Such a connection

cannot be “overly attenuated.” Id., quoting Donahue v. City of Boston, 304 F.3d 110, 115 (1st Cir.

2002). Because the opposing party must be the source of the harm, causation is absent if the injury

stems from the independent action of a third-party. Id., citing Simon v. E. Ky. Welfare Rights Org.,

426 U.S. 26 (1976). Even when third-parties are not involved, the causation requirement may be

satisfied when a consumer purchases a falsely advertised product because the defendant’s

misrepresentations would have artificially inflated the price the consumer paid. Rule v. Fort Doge

Animal Health, Inc., 607 F.3d 150 (1st Cir. 2010).

         The Attorneys Plaintiffs cannot link their own alleged harm to Sirchie’s conduct or alleged

wrongdoing because Sirchie (1) did not sell them anything (or to the DOC for that matter), (2) was

not involved in the DOC’s decision to threaten them, and (3) was not involved in any policies or

decisions which prevented mail from reaching the Inmate Plaintiffs. As such, it is clear that Sirchie

did not have control over the imposition or enactment of any of the third-party’s (i.e., the DOC)

policies. Katz, 672 F.3d at 71 citing Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26 (1976)

(because the opposing party must be the source of the harm, causation is absent if the injury stems

from the independent action of a third-party); Barry v. St. Paul Fire & Marine Ins. Co., 555 F.2d 3,

13 (1st Cir. 1977) (named plaintiffs seeking to represent classes of doctors and patients in antitrust



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case against four insurance companies could not maintain claims against two of the defendants

where there was no evidence that any named plaintiff ever bought a policy from either company or

was ever treated by a doctor holding such a policy); In re Organogenesis Sec. Litig., 241 F.R.D. 397,

403-405 (D. Mass. 2007) (ruling that named plaintiff did not have standing to maintain class claims

against defendant whose individual conduct could not have caused any harm to the named plaintiff).

         The Attorney Plaintiffs contend that their harm was caused directly by Sirchie’s conduct.

However, it is clear that any harm allegedly sustained by the Attorney Plaintiffs was caused by the

DOC’s policies in place (which was not under the control of Sirchie). There is no evidence that (1)

Sirchie did not advise suppliers or prospective customers that its NARK II Test Kit was a

presumptive test that required laboratory confirmation (it did so based on the brochure materials

received by the DOC), or (2) Sirchie advertised NARK II Test Kits as conclusive drug tests that did

not require any laboratory confirmation (again, it did so, multiple times, including on its own

product packaging). As such, it is undisputed that Sirchie did not misrepresent the capabilities of the

NARK II Test Kits at any time. See Dkt. No. 14-1, at 5; 14-2, at 1; 14-3, at 2. It follows that there is

no causal connection to the DOC’s policies at issue in this action as there were no misrepresentations

of the NARK II Test Kits. Rule v. Fort Doge Animal Health, Inc., 607 F.3d 150 (1st Cir. 2010) (Even

when third-parties are not involved, the causation requirement may be satisfied when a consumer

purchases a falsely advertised product because the defendant’s misrepresentations would have

artificially inflated the price the consumer paid). Accordingly, the claims against Sirchie should be

dismissed.

B. Motion to Dismiss for Failure to State a Claim

    1. Fed. R. Civ. P. 12(b)(6) Legal Standard




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         To survive a motion to dismiss under Rule 12(b)(6), the complaint “must contain sufficient

factual matter, accepted as true, to state a claim to relief that is plausible on its face.” Aschroft v.

Iqbal, 556 U.S. 662, 678 (2009) quoting Twombly, 550 U.S. at 570. An entitlement to relief is

“plausible” if the facts “raise a reasonable expectation that discovery will reveal evidence” of the

alleged misconduct, “even if it strikes as savvy judge that actual proof of those facts is improbable,

and that recovery is very remote and unlikely.” Twombly, 550 U.S. at 556; Ocasio-Hernandez v.

Fortuño-Burset, 640 F.3d 1, 17 (1st Cir. 2011).

         Rule 12(b)(6) requires a plaintiff to plead facts which “raise [her] right to relief above the

speculative level.” Twombly, 550 U.S. at 545. This requires “more than labels and conclusions, and a

formulaic recitation of a cause of action, supported by mere conclusory statements, do not suffice.”

Iqbal, 556 U.S. at 678 (court can discard legal conclusions, conclusory statements, and factually

threadbare recitals of the elements of a cause of action); Maldonado v. Fontanes, 568 F.3d 263, 268

(1st Cir. 2009) (court need not accept as true legal conclusions from the complaint or naked

assertions devoid of further factual enhancement). A claim has facial plausibility when the plaintiff

pleads factual content that allows the Court to draw the reasonable inference that the defendant is

liable for the misconduct alleged. Iqbal, 556 U.S. at 664. Moreover, Iqbal, Comcast v. Behrend, 569

U.S. 27 (2012), and Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011) have raised the bar for

alleging claims suitable for class treatment.

    2. The Negligence Claim Fails as There is No Duty Owed to Plaintiffs

         Plaintiffs allege a claim of negligence against Sirchie. See Complaint, ¶¶85-89. To establish a

claim for negligence, a plaintiff must demonstrate (1) a duty owed by the defendant to the plaintiff,

(2) a breach of such duty, and (3) injury to the plaintiff caused by the defendant’s breach. Glidden v.

Maglio, 430 Mass. 694, 696 (2000). A negligence claim cannot stand unless it shows “the existence



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of an act or omission in violation of a duty owed to the plaintiff by the defendant.” Cottam v. CVS

Pharm., 436 Mass. 316, 320 (2002) quoting Dinsky v. Framingham, 386 Mass. 801, 804 (1982);

Westerback v. Harold F. LeClair Co., Inc., 50 Mass. App. Ct. 144, 146 (2000). Further, “before

liability for negligence can be imposed, there must first be a legal duty owed by the defendant to the

plaintiff and a breach of that duty proximately resulting in the injury.” Davis v. Westwood Group,

420 Mass. 739, 742-743 (1995); Lev v. Beverly Enterprises-Mass., Inc., 457 Mass. 234, 240 (2010)

(absent a legal duty owed by defendant, there is no actionable claim for negligence). The existence

of a duty is a question of law for the Court to decide. Cottam, 436 Mass. at 320.

         Plaintiffs’ claim relies exclusively on Sirchie manufacturing the NARK II Test Kit. See

Complaint, ¶¶85-89. However, the fact that Sirchie manufactured the NARK II Test Kit does not

create a duty. It is well established that “there is no duty to control another person’s conduct to

prevent that person from causing harm to a third-party.” Leavitt v. Brockton Hosp., Inc., 454 Mass.

37, 40-41 (2009). Here, it is undisputed that Sirchie did not control the DOC’s actions at any time.

First, as mentioned, Sirchie had no control over the DOC or its employees and, on that basis alone,

Sirchie does not owe the Plaintiffs a duty of care. Second, Plaintiffs fail to allege how Sirchie

allegedly injured the Plaintiffs. While Plaintiffs claim that Sirchie knew or should have known of the

false positive results and where or on whom the products would be used on, Plaintiffs do not allege

that such knowledge (if any) created a duty over the DOC (a third-party).

         Moreover, Plaintiffs attempt to mislead the Court as to the warnings and nature of the

product by failing to acknowledge that the brochures for Sirchie’s products, including the NARK II

Test Kits, all advised and warned that the product is a presumptive test and any results must be

confirmed by a laboratory. See Dkt. No. 14-1, at 5; 14-2, at 1; 14-3, at 2. Regardless of what Sirchie

should have done or known, as alleged by Plaintiffs, the fact is that all consumers, including the



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DOC, were aware of the presumptive nature of the products and the requirement to confirm any

results by a laboratory. Further, any allegations that Sirchie “assumed responsibility for training

DOC employees on the use of its test” is simply false because such training was not required by any

statute, regulation or Sirchie (if the DOC chose to make such training mandatory, that is again

outside of Sirchie’s control). In any event, such allegations do nothing to help Plaintiffs obtain an

exception to long standing precedent that there is no duty to control a third-party from harming

another. Leavitt, 454 Mass. at 40-41. Accordingly, because there is no duty owed to Plaintiffs by

Sirchie, their negligence claim fails as a matter of law.

    3. The Negligence Claim Fails as Sirchie’s Conduct Did Not Proximately Cause Any Harm

         It is well established that “one cannot be held liable for negligent conduct unless it is casually

related to injury of the plaintiff.” Geary, 20 Mass. L. Rep. at *241. Moreover, proximate cause may

be determined as a question of law when there is no dispute as to the effect of the facts established.

Kent v. Commonwealth, 437 Mass. 312 (2002) (if a series of events occur between the negligent

conduct and the ultimate harm, the court must determine whether those intervening events have

broken the chain of factual causation or, if not, have otherwise extinguished the element of

proximate cause and become the superseding cause of the harm). A superseding cause is an act of a

third person or other force which by its intervention prevents the actor from being liable for harm to

another, which his antecedent negligence is a substantial factor in bringing about. Jones v.

Cincinnati, Inc., 32 Mass. App. Ct. 365 (1992).

         Here, Plaintiffs’ negligence claim fails because there are no facts that can prove their harm

was caused by Sirchie. In order to prevail, Plaintiffs must prove that the negligence of Sirchie (i.e.,

manufacturing products with high false result rate) was the proximate cause of Plaintiffs’ harm.

However, even though Plaintiffs have not alleged such allegations, it is undisputed that any harm



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allegedly sustained by the Plaintiffs is the result of intervening actions taken by the DOC and its

employees.

         Plaintiffs allege that the DOC “impose[s] severe and immediate punishments” on

incarcerated people, that the DOC has been “relying on false positives to punish incarcerated people”

and, generally, that the DOC’s policies and conduct is the source of the alleged harm. See

Complaint, ¶¶3-4, 33, 44-47, 49, 51, 55-57, 59-60, 62-71, 79. In fact, Plaintiffs allege throughout the

Complaint that it was the DOC’s own actions that caused the alleged harm (which Sirchie had no

control over or involvement with).

         Moreover, Plaintiffs allege that a cause of the harm was not the false positives of the NARK

II Test Kits but, rather, the inmates own choice not to pursue the recommendations given to them by

the DOC’s employees (i.e., the inmates refusal to have the initial results evaluated by a laboratory).

See Complaint, ¶56. The NARK II Test Kit advises that it’s a presumptive test that must be

corroborated by a laboratory. See Dkt. No. 14-1, at 5; 14-2, at 1; 14-3, at 2. It is undisputed that the

DOC received such documentation and warnings of the presumptive nature of the NARK II Test Kit.

On this basis alone, it is clear that the superseding cause of Plaintiffs alleged harm was the alleged

failure of the DOC to acknowledge the presumptive nature of the NARK II Test Kit and/or follow

the written instructions directing laboratory confirmation of any results obtained from the NARK II

Test Kit.

         While Plaintiffs allege that Sirchie provides training for its products, including the NARK II

Test Kits, there is no requirement or statute that directs any consumer of the NARK II Test Kits to

receive any training (nor have Plaintiffs allege that Sirchie’s training was deficient per statutory or

regulatory requirements). As such, any allegations that Sirchie’s training caused the alleged harm is

unfounded since (1) such training was not required, (2) Sirchie had no power to direct any training



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be taken by the DOC’s employees, and (3) Sirchie had no supervision requirements over the DOC’s

employees use of the NARK II Test Kit. Further, it is not reasonably foreseeable that the DOC

would implement discipline based on presumptive test results without confirming results with

laboratory tests. Jesionek v. Mass. Port. Auth., 376 Mass. 101, 105 (1978) (whether negligent

conduct is the proximate cause of an injury depends on whether the injury to the plaintiff was a

foreseeable result of the defendant’s negligent conduct). Finally, it is undisputed that the DOC

controlled the use of the NARK II Test Kits and solely implemented the testing procedures and/or

policies without input from Sirchie. Accordingly, because Sirchie did not proximately cause any

harm to the Plaintiffs, the Plaintiffs’ claims fail as a matter of law and should be dismissed.

    4. The c. 93A Claim Fails

         In order to establish a claim for violation of c. 93A, a claimant must prove the existence of an

unfair or deceptive act. Mechanics Nat'l Bank v. Killeen, 377 Mass. 100 (1979). “The circumstances

of each case must be analyzed, and unfairness is to be measured not simply by determining whether

particular conduct is lawful [or unlawful…] apart from G. L. c. 93A but also by analyzing the effect

of the conduct on the public [or the consumer]." Id., quoting Schubach v. Household Fin. Corp., 375

Mass. 133 (1978).

         “In the absence of conduct that qualifies as unfair or deceptive, a negligent act or acts, alone,

do not violate c. 93A.” Klairmont v. Gainsboro Rest., Inc., 465 Mass. 165, 176-177 (2013); Darviris

v. Petros, 442 Mass. 274, 278 (2004) (plaintiffs' negligence-based medical malpractice claim did not

qualify for redress under c. 93A:…"a violation of G. L. c. 93A requires, at the very least, more than

a finding of mere negligence"); Meyer v. Wagner, 429 Mass. 410, 423-424 (1999) (no unfair or

deceptive act where negligent legal representation alleged).




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         Here, apart from the c. 93A claim, all Plaintiffs allege is mere negligence. See Complaint,

¶¶85-89. On this basis alone, Plaintiffs’ claim of a violation of c. 93A fails. Klairmonti, 465 Mass. at

176-177 (“In the absence of conduct that qualifies as unfair or deceptive, a negligent act or acts,

alone, do not violate c. 93A.”); Darviris, 442 Mass. at 278 ("a violation of G. L. c. 93A requires, at

the very least, more than a finding of mere negligence"). Significantly, there is no evidence that

Sirchie misrepresented the capabilities of the NARK II Test Kit. Rather, the opposite is true, Sirchie

made all consumers (whom are not individual citizens but law enforcement personnel) aware,

through brochures and on the product’s packaging, of the presumptive nature of the NARK II Test

Kit and that any results from such tests need to be confirmed by a laboratory. See Dkt. No. 14-1, at

5; 14-2, at 1; 14-3, at 2. Accordingly, Sirchie or its products did not partake in any unfair or

defective practices and, as Plaintiffs’ claims against Sirchie are predicated on mere negligence

allegations, a violation of c. 93A fails as a matter of law.

                                    IV.    Request for Relief

         WHEREFORE, for all the reasons discussed above, Sirchie respectfully requests that

this Honorable Court (1) GRANT its Motion in its entirety and dismiss all claims against Sirchie;

and (2) ENTER separate and final judgment in favor Sirchie pursuant to Fed. R. Civ. P. 54(b).




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                         Respectfully submitted,

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                         By its attorneys,

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                                CERTIFICATE OF SERVICE

        I, Kenneth B. Walton, hereby certify that on October 8, 2021, a true and correct copy of
the within document was served on all parties via the Electronic Case Filing System.



                                             /s/ Kenneth B. Walton
                                             Kenneth B. Walton




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